                                                             Case 6:19-bk-04783-GER                          Doc 38 Filed 12/20/21
                                                                                                              FORM 1
                                                                                                                                                        Page 1 of 2
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:        1
                                                                                               ASSET CASES
Case No:             19-04783       KSJ Judge: KAREN S. JENNEMANN                                                                               Trustee Name:                     ROBERT E. THOMAS, TRUSTEE
Case Name:           CC STL HOLDINGS, LLC                                                                                                      Date Filed (f) or Converted (c):   10/16/20 (c)
                                                                                                                                               341(a) Meeting Date:               12/01/20
For Period Ending: 09/30/21                                                                                                                    Claims Bar Date:                   01/01/21



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. CHAPTER 11 DIP CHECKING ACCOUNT (u)                                                          0.00                          2,270.02                                            2,270.02                     FA

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                              $0.00                         $2,270.02                                           $2,270.02                            $0.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   CASE CONVERTED TO CHAPTER 7 FROM CHAPTER 11 ON OCTOBER 16, 2020. ALL ASSETS SOLD IN CHAPTER 11 PROCEEDING.


   CHAPTER 11 DIP ACCOUNT TURNED OVER TO TRUSTEE FOR ADMINISTRATION IN THE AMOUNT OF $2,270.02. THERE ARE NO OTHER ASSETS


   CLAIMS REVIEWED


   Initial Projected Date of Final Report (TFR): 04/30/21           Current Projected Date of Final Report (TFR): 10/30/21


           /s/     ROBERT E. THOMAS, TRUSTEE
   __________________________________________ Date: 10/28/21
           ROBERT E. THOMAS, TRUSTEE




LFORM1                                                                                                                                                                                                                         Ver: 22.03e
                                                          Case 6:19-bk-04783-GER              Doc 38         Filed 12/20/21          Page 2 of 2
                                                                                                FORM 2                                                                                                    Page:      1
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           19-04783 -KSJ                                                                                           Trustee Name:                       ROBERT E. THOMAS, TRUSTEE
  Case Name:         CC STL HOLDINGS, LLC                                                                                    Bank Name:                          Axos Bank
                                                                                                                             Account Number / CD #:              *******1911 Checking Account
  Taxpayer ID No:    *******6279
  For Period Ending: 09/30/21                                                                                                Blanket Bond (per case limit):      $ 22,299,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                 3                                             4                                                 5                          6                         7
    Transaction      Check or                                                                                                       Uniform                                                               Account / CD
       Date          Reference                 Paid To / Received From                       Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                                                                  BALANCE FORWARD                                                                                                                        0.00
          12/02/20      1        WELLS FARGO BANK                                 CHAPTER 11 DIP ACCOUNT                           1229-000                    2,270.02                                             2,270.02
          02/12/21               International Sureties, Ltd.                     Blanket Bond Payment Premium                     2300-000                                                   2.97                  2,267.05
                                 Suite 420
                                 701 Poydras Street
                                 New Orleans, LA 70139

                                                                                                         COLUMN TOTALS                                         2,270.02                       2.97                   2,267.05
                                                                                                             Less: Bank Transfers/CD's                             0.00                       0.00
                                                                                                         Subtotal                                              2,270.02                       2.97
                                                                                                             Less: Payments to Debtors                                                        0.00
                                                                                                         Net
                                                                                                                                                               2,270.02                       2.97
                                                                                                                                                                                 NET                             ACCOUNT
                                                                                                         TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                         Checking Account - ********1911                      2,270.02                          2.97                 2,267.05
                                                                                                                                                 ------------------------    ------------------------   ------------------------
                                                                                                                                                              2,270.02                          2.97                 2,267.05
                                                                                                                                                 ==============             ==============              ==============
                                                                                                                                                  (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                             Transfers)               To Debtors)                    On Hand




                                                                                                                             Page Subtotals                    2,270.02                        2.97
                                                                                                                                                                                                                    Ver: 22.03e
LFORM24
